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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT


     UNITED STATES
                                                             No. 3:17-cr-172 (SRU)
          v.

     JAVON MORSE

          ORDER AND RULING ON MOTION FOR SENTENCE REDUCTION

        Javon Morse, currently incarcerated in Allenwood Medium FCI (“Allenwood”), filed a

motion for immediate release pursuant to the First Step Act. Morse principally argues that the

COVID-19 pandemic, together with the current outbreak at Allenwood and his underlying

medical conditions, constitute “extraordinary and compelling reasons” warranting a sentence

reduction to time served under 18 U.S.C. § 3582(c)(1)(A)(i).

        The government opposes the motion on the grounds that: (1) Morse has not sufficiently

demonstrated that his risk of contracting COVID-19 is greater while incarcerated; and (2) the

factors set forth in 18 U.S.C. § 3553(a) counsel against release in any event.

        For the reasons that follow, I agree with Morse that immediate release is appropriate here.

Morse’s motion (doc. no. 48) is therefore granted.


I.      Background

        On August 8, 2017, Morse waived indictment and pled guilty to possession with intent to

distribute 500 grams or more of cocaine, in violation of 21 U.S.C. §§ 841(a)(1) and

842(b)(1)(B)(ii). See Doc. Nos. 26, 28. On December 22, 2017, I sentenced Morse to the

mandatory minimum sentence of 60 months of imprisonment, to be followed by a term of four

years of supervised release. See Doc. Nos. 40, 41. Morse’s projected release date is February 4,
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2022. See FEDERAL BUREAU OF PRISONS, Find an Inmate, https://www.bop.gov/inmateloc/ (last

visited January 9, 2021).

       Morse submitted a request for compassionate release to the Bureau of Prisons (“BOP”)

on September 1, 2020, which was denied. See Mot. for Release, Doc. No. 48-1, at 1. Morse,

proceeding pro se, also filed a motion for release in this court on August 28, 2020. See Doc. No.

47. On December 21, 2020, Morse, through counsel, filed a supplemental motion. See Doc. No.

48. The government submitted an opposition on January 8, 2021. See Doc. No. 51.


II.    Standard of Review

       The compassionate release statute, 18 U.S.C. § 3582, as amended by the First Step Act

(“FSA”) of 2018, authorizes sentencing courts to reduce a term of imprisonment if, after

considering the applicable factors set forth in section 3553(a), it concludes that “extraordinary

and compelling reasons warrant such a reduction” and that “such a reduction is consistent with

applicable policy statements issued by the Sentencing Commission.” 18 U.S.C. § 3582(c)(1)(A).

The defendant bears the burden of proving that he or she is entitled to a sentence reduction.

United States v. Morales, 2020 WL 2097630, at *2 (D. Conn. May 1, 2020) (internal citations

omitted).

       Unlike prior versions of the statute, which vested the exclusive authority to bring a

motion for compassionate release with the Director of the BOP, section 3582(c)(1)(A) now

permits imprisoned individuals to petition the courts for sentence reductions, even if the BOP

opposes the request. See United States v. Brooker, 976 F.3d 228, 231–33 (2d Cir. 2020). The

statute specifically instructs that a court may reduce a sentence “upon motion of the Director of

the Bureau of Prisons, or upon motion of the defendant after the defendant has fully exhausted

all administrative rights to appeal a failure of the Bureau of Prisons to bring a motion on the


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defendant’s behalf or the lapse of 30 days from receipt of such a request by the warden of the

defendant’s facility, whichever is earlier.”1 18 U.S.C. § 3582(c)(1)(A).

          As the Second Circuit recently announced in Brooker, district courts evaluating First Step

Act motions brought directly by defendants are therefore not bound by U.S. Sentencing

Guidelines Manual (“U.S.S.G.”) § 1B1.13, which addresses only motions for relief brought by

the Director of the BOP. See Brooker, 976 F.3d at 230, 235–37 (“Neither Application Note

1(D), nor anything else in the now-outdated version of Guideline § 1B1.13, limits the district

court’s discretion.”). Instead, the Brooker Court concluded, the First Step Act authorizes courts

to “consider the full slate of extraordinary and compelling reasons that an imprisoned person

might bring before them.” Id. at 237.


III.      Discussion

       A. “Extraordinary and Compelling” Circumstances

          Since the outbreak of the COVID-19 pandemic, courts within this circuit and across the

country have concluded that “extraordinary and compelling” circumstances exist when an

incarcerated defendant suffers from health conditions that make him particularly susceptible to

serious complications should he contract COVID-19. See, e.g., United States v. Colvin, 451 F.

Supp. 3d 237, 241 (D. Conn. 2020) (holding that extraordinary and compelling reasons justified

immediate release under section 3582(c)(1)(A) because the defendant suffered from “diabetes, a

serious medical condition which substantially increases her risk of severe illness if she contracts

COVID-19”) (internal quotation marks, citations, and alteration omitted).




          1
          The government does not dispute that Morse has exhausted his administrative remedies. See Opp. to Mot.
for Release, Doc. No. 51, at 9.

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          As set forth in Morse’s motion, and as corroborated by his medical records, Morse suffers

from asthma and obesity. See Doc. No. 50. The CDC, however, recognizes only moderate-to-

severe asthma as a comorbidity that might elevate one’s risk of serious illness from COVID-19,

and I am unable to glean from the medical records whether Morse’s asthma qualifies as such.

See CENTERS FOR DISEASE CONTROL AND PREVENTION, People with Certain Medical Conditions,

https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/groups-at-higher-risk.html

(last visited Jan. 9, 2021). For instance, although Morse’s asthma was described as “step one

asymptomatic” in February 2018, Morse has a current prescription for an Albuterol inhaler,

which he claims to use four times a day. See Doc. No. 50, at 1, 4; Doc. No. 48, at 3.

          I need not resolve that factual question, however, because the CDC classifies obesity

(with a BMI of over 30) as a condition that heightens the likelihood of severe illness from

COVID-19, and it is apparent from Morse’s medical records that he is obese. See, e.g., Doc. No.

50, at 6 (noting a BMI of 30.4 as of June 10, 2020). Because Morse therefore faces an increased

risk of serious complications if he contracts COVID-19, he has sufficiently demonstrated

extraordinary and compelling circumstances warranting his release. See Colvin, 451 F. Supp. 3d

at 241.

          Also of significance, Allenwood is currently experiencing a COVID-19 outbreak, and

several courts have observed that such a circumstance can further support the existence of

extraordinary and compelling reasons justifying release. See, e.g., United States v. Sturdivant,

2020 WL 6875047, at *4 (D. Conn. Nov. 23, 2020); accord United States v. Park, 456 F. Supp.

3d 557, 561 (S.D.N.Y. 2020) (“The Court’s concern with Ms. Park’s health during this time is

greatly exacerbated by her place of incarceration.”). Indeed, 137 inmates and 24 staff members at

Allenwood currently test positive for COVID-19; 378 inmates and 14 staff have recovered. See

COVID-19 Coronavirus, FED. BUREAU OF PRISONS, https://www.bop.gov/coronavirus/ (last visited
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Jan. 9, 2021). Allenwood’s significant outbreak, coupled with the unique challenges presented for

control of COVID-19 in correctional facilities due to the close living quarters, further merits

Morse’s release.


    B. Section 3553(a) Factors

        That extraordinary and compelling circumstances exist, of course, does not end my

inquiry. In order to grant the relief Morse seeks, I must also determine whether the factors set

forth in 18 U.S.C. § 3553(a) warrant a reduction in his sentence. Under section 3553(a), I must

impose a sentence that is sufficient, but not greater than necessary, to (1) reflect the seriousness of

the offense, promote respect for the law, and provide just punishment, (2) afford adequate deterrence,

(3) protect the public from further crimes of the defendant, and (4) provide the defendant with

training, medical care, and other treatment in the most effective manner. 18 U.S.C. § 3553(a)(2). I

must also weigh other factors, including the nature and circumstances of the offense and the history

and characteristics of the defendant. See id. § 3553(a)(1).

        After considering the relevant factors, I conclude that a sentence of time served would be

sufficient, but not greater than necessary, to comport with the goals of sentencing. Although

Morse’s crime was serious, he has no criminal history of any kind. See Doc. No. 33, at ¶¶ 33–

38. He has, further, been incarcerated since May 24, 2017 and has therefore served a substantial

portion—nearly 75%—of his sentence, excluding any good time.

        Although Morse has received several disciplinary tickets for using or possessing drugs

throughout his incarceration, he has not committed any infractions in almost one year.2 See Doc.

No. 51-1, at 1 (denoting February 23, 2020 as the most recent “sanctioned incident date”).



        2
           Although the government suggests that Morse’s most recent infraction occurred in July 2020, the
disciplinary records illustrate that July 2020 is when the disciplinary hearing—rather than the sanctioned incident—
took place. See Doc. No. 51-1, at 1.

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Moreover, I am persuaded that any remaining substance use problems can be properly addressed

on supervised release through treatment, and I have already imposed substance abuse treatment

as a condition of Morse’s supervised release. See Doc. No. 41, at 1. Morse has also proposed

GPS monitoring as part of his release plan, which will further ensure that the public is protected

from any future crimes. See Doc. No. 48, at 5.


IV.      Conclusion

         For the foregoing reasons, Morse’s motion for a sentence reduction (doc. no. 48) is

granted, and his pro se motion for compassionate release (doc. no. 47) is denied as moot. His

motion to seal his medical records (doc. no. 49) is also granted. I reduce Morse’s sentence to

time served, and he shall be immediately released from BOP custody.

         Upon release, Morse shall commence serving his four-year term of supervised release

with the conditions that I already imposed, in addition to GPS monitoring for the first six

months. See Doc. No. 41. Morse must contact the United States Probation Office as soon as

possible, but in no event later than 72 hours after his release.

      IT IS SO ORDERED.

      Dated at Bridgeport, Connecticut, this 12th day of January 2021.

                                                               /s/ STEFAN R. UNDERHILL
                                                               Stefan R. Underhill
                                                               United States District Judge




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